                                                      Case 9:17-bk-05744-FMD             Doc 48 1 Filed 10/31/18
                                                                                          FORM                                    Page 1 of 5
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:       1
                                                                                 ASSET CASES
Case No:          17-05744      CED    Judge: Caryl E. Delano                                                             Trustee Name:                     Robert E. Tardif Jr.
Case Name:        PARRISH, DELMER H                                                                                      Date Filed (f) or Converted (c):   06/30/17 (f)
                                                                                                                         341(a) Meeting Date:               08/08/17
For Period Ending: 09/30/18                                                                                              Claims Bar Date:                   11/06/17



                                   1                                     2                          3                         4                         5                                  6
                                                                                           Estimated Net Value
                                                                     Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                            Asset Description                       Unscheduled          Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                (Scheduled and Unscheduled (u) Property)              Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. HOMESTEAD-390 HAWSER LANE, NAPLES, FL                             2,242,386.00                            0.00                                                0.00                   FA
 2. MASTER BEDROOM                                                           473.00                           0.00                                                0.00                   FA
 3. ROOM 1 FURNISHINGS                                                       158.00                           0.00                                                0.00                   FA
 4. ROOM 2 FURNISHINGS                                                       225.00                           0.00                                                0.00                   FA
 5. PORCH ITEMS ($240 bank fee added)                                        150.00                        390.00                                                 0.00                         390.00
 6. DOWNSTAIRS FURNISHINGS                                                   583.00                        439.00                                             439.00                     FA
 7. ROOM 3 FURNISHINGS                                                       293.00                        293.00                                             293.00                     FA
 8. OFFICE EQUIPMENT                                                         553.00                        553.00                                             553.00                     FA
 9. ENTRY/ DINING ROOM FURNISHINGS                                           680.00                        680.00                                             510.56                           169.44
 10. KITCHEN ITEMS                                                           393.00                        393.00                                             393.00                     FA
 11. GARAGE ITEMS                                                            193.00                        193.00                                             193.00                     FA
 12. DEN FURNISHINGS                                                         810.00                        810.00                                                 0.00                         810.00
 13. USED MENS CLOTHING                                                      175.00                        175.00                                             175.00                     FA
 14. DOG                                                                      10.00                         10.00                                                10.00                   FA
 15. CASH ON HAND                                                             20.00                         20.00                                                20.00                   FA
 16. REGIONS BANK: CHECKING ACCT. NO. 7187                                   500.00                        540.77                                                 0.00                         540.77
 17. FINANCIAL ACCOUNT: CHARLES SCHWAB (Joint)                            8,000.00                          93.52                                                93.52                   FA
     OTE
 18. HSA BANK - HEALTH SAVINGS ACCOUNT NO. 8703                                0.00                           0.00                                                0.00                   FA
 19. SUNSHINE RX PHARMACY, LLC - NOT OPERATING                                 0.00                           0.00                                                0.00                   FA
 20. 2016 FEDERAL TAX REFUND                                            20,000.00                       10,456.17                                           10,456.17                    FA
     OTE
 21. POTENTIAL UNCLAIMED FUNDS - CAINE & WEINER                          Unknown                              0.00                                                0.00                   FA
 22. 2017 TAX REFUND (6/12) (u)                                                0.00                        242.75                                             242.75                     FA

                                                                                                                                                                           Gross Value of Remaining Assets




LFORM1                                                                                                                                                                                                  Ver: 20.02
                                                                Case 9:17-bk-05744-FMD                       Doc 48 1 Filed 10/31/18
                                                                                                              FORM                                      Page 2 of 5
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                             Page:       2
                                                                                               ASSET CASES
Case No:             17-05744       CED     Judge: Caryl E. Delano                                                                              Trustee Name:                      Robert E. Tardif Jr.
Case Name:           PARRISH, DELMER H                                                                                                         Date Filed (f) or Converted (c):    06/30/17 (f)
                                                                                                                                               341(a) Meeting Date:                08/08/17
                                                                                                                                               Claims Bar Date:                    11/06/17



                                       1                                                    2                            3                          4                         5                                    6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 TOTALS (Excluding Unknown Values)                                                     $2,275,602.00                         $15,289.21                                           $13,379.00                        $1,910.21
                                                                                                                                                                                                  (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   September 21, 2017 (RET) - Prepared OTE. (Order submitted) (hearing set per judge for 11/16/17)


   November 08, 2017 (RET) - Emails with attorney about TBE exemption order.


   December 11, 2017 (GAH) Second OTE filed.


   December 12, 2017 (RET) - Received tax refund that is joint with wife, Renee Parrish, who also has a pending case. Will
   deposit the refund and split between both pending cases.


   December 13, 2017 (GAH) Proposed Stip for $4,590.29 at $382.52 per mo. beginning 1/15/18 for 12 mos. plus 6/12 of any
   2017 tax refund. Debtor has previously surrendered his 2016 tax refund.


   December 20, 2017 (RET) - Signed payment stipulation.


   February 01, 2018 (GAH) Received tax return. Filed with spouse; requested W-2s. Refund is $4,944.00. Received W-2.
   Most of refund is non-filing spouse's. Estate's portion of husband's refund is $242.75. E-mail sent to atty. Debtor
   sent check for tax refund; if IRS comes in send it to him.


   March 09, 2018 (GAH) Check #490 for $382.52 returned for insufficient funds. (received) E-mail sent to atty.




LFORM1                                                                                                                                                                                                                          Ver: 20.02
                                                            Case 9:17-bk-05744-FMD                        Doc 48 1 Filed 10/31/18
                                                                                                           FORM                       Page 3 of 5
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page:      3
                                                                                              ASSET CASES
Case No:            17-05744        CED    Judge: Caryl E. Delano                                                             Trustee Name:                      Robert E. Tardif Jr.
Case Name:          PARRISH, DELMER H                                                                                         Date Filed (f) or Converted (c):   06/30/17 (f)
                                                                                                                              341(a) Meeting Date:               08/08/17
                                                                                                                              Claims Bar Date:                   11/06/17
   March 16, 2018 (RET) - Debtor payments continuing.


   June 13, 2018 (GAH) Check #508 for $382.52 returned for insufficient funds. E-mail sent to atty.


   July 22, 2018 (RET) - Debtor payments continuing.


   August 01, 2018 (GAH) E-mail sent to atty for past due payment of $897.56. (received partial payment)


   October 08, 2018 (GAH) E-mail to atty for past due payment. (received)


   October 18, 2018 (RET) - Debtor payments almost complete.


   Initial Projected Date of Final Report (TFR): 06/29/19           Current Projected Date of Final Report (TFR): 06/29/19


           /s/     Robert E. Tardif Jr.
   __________________________________________ Date: 10/31/18
           ROBERT E. TARDIF JR.




LFORM1                                                                                                                                                                                          Ver: 20.02
                                                          Case 9:17-bk-05744-FMD                Doc 48          Filed 10/31/18      Page 4 of 5
                                                                                                   FORM 2                                                                                     Page:      1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           17-05744 -CED                                                                                          Trustee Name:                     Robert E. Tardif Jr.
  Case Name:         PARRISH, DELMER H                                                                                      Bank Name:                        BOK FINANCIAL
                                                                                                                            Account Number / CD #:            *******8061 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******9378
  For Period Ending: 09/30/18                                                                                               Blanket Bond (per case limit):    $ 26,930,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                3                                                 4                                           5                       6                  7
     Transaction     Check or                                                                                                      Uniform                                                    Account / CD
        Date         Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)        Disbursements ($)       Balance ($)
                                                                                  BALANCE FORWARD                                                                                                            0.00
          12/21/17      20       Robert Tardif, Trustee                           2016 Tax Refund (Doc #22)                       1124-000               10,456.17                                     10,456.17
          12/29/17               BOK FINANCIAL                                    BANK SERVICE FEE                                2600-000                                          10.00              10,446.17
          01/23/18   * NOTE *    Del Parrish                                      Payment on Overage (Doc #22)                    1129-000                   382.52                                    10,828.69
                                                                                  * NOTE * Properties 11, 13, 14, 15, 17
          01/31/18               BOK FINANCIAL                                    BANK SERVICE FEE                                2600-000                                          15.62              10,813.07
 *        02/26/18    10, 11     Del Parrish                                      Payment on Overage (Doc #22)                    1129-003                   382.52                                    11,195.59
          02/26/18      22       Del Parrish                                      Tax refund (Doc #22)                            1224-000                   242.75                                    11,438.34
          02/28/18               BOK FINANCIAL                                    BANK SERVICE FEE                                2600-000                                          14.51              11,423.83
 *        03/09/18    10, 11     Del Parrish                                      Payment on Overage (Doc #22)                    1129-003                   -382.52                                   11,041.31
                                                                                  Returned-insufficient funds
          03/19/18   * NOTE *    Delmer Parrish                                   Payment on Overage (Doc #22)                    1129-000                   765.04                                    11,806.35
                                                                                  * NOTE * Properties 7, 10, 11
          03/30/18               BOK FINANCIAL                                    BANK SERVICE FEE                                2600-000                                          16.78              11,789.57
          04/27/18     6, 10     Del Parrish                                      Payment on Overage (Doc #22)                    1129-000                   250.00                                    12,039.57
          04/30/18               BOK FINANCIAL                                    BANK SERVICE FEE                                2600-000                                          16.95              12,022.62
 *        05/29/18     6, 8      Del Parrish                                      Payment on Overage (Doc #22)                    1129-003                   382.52                                    12,405.14
          05/31/18               BOK FINANCIAL                                    BANK SERVICE FEE                                2600-000                                          17.85              12,387.29
 *        06/13/18     6, 8      Del Parrish                                      Payment on Overage (Doc #22)                    1129-003                   -382.52                                   12,004.77
                                                                                  Check returned for insufficient funds
          06/25/18      8        Delmer Parrish                                   Payment on Overage (Doc #22)                    1129-000                   382.52                                    12,387.29
          06/29/18               BOK FINANCIAL                                    BANK SERVICE FEE                                2600-000                                          17.36              12,369.93
          07/31/18               BOK FINANCIAL                                    BANK SERVICE FEE                                2600-000                                          18.38              12,351.55
          08/06/18    6, 8, 9    Delmer Parrish                                   Payment on Overage (Doc #22)                    1129-000                   400.00                                    12,751.55
          08/10/18      9        Delmer Parrish                                   Payment on Overage (Doc #22)                    1129-000                   500.00                                    13,251.55
          08/31/18               BOK FINANCIAL                                    BANK SERVICE FEE                                2600-000                                          19.20              13,232.35
          09/28/18               BOK FINANCIAL                                    BANK SERVICE FEE                                2600-000                                          19.03              13,213.32




                                                                                                                            Page Subtotals               13,379.00                  165.68
                                                                                                                                                                                                        Ver: 20.02
LFORM24
                                                 Case 9:17-bk-05744-FMD              Doc 48          Filed 10/31/18          Page 5 of 5
                                                                                        FORM 2                                                                                                    Page:      2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:          17-05744 -CED                                                                                    Trustee Name:                       Robert E. Tardif Jr.
  Case Name:        PARRISH, DELMER H                                                                                Bank Name:                          BOK FINANCIAL
                                                                                                                     Account Number / CD #:              *******8061 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******9378
  For Period Ending: 09/30/18                                                                                        Blanket Bond (per case limit):      $ 26,930,000.00
                                                                                                                     Separate Bond (if applicable):


          1            2                          3                                              4                                                 5                          6                         7
    Transaction    Check or                                                                                                 Uniform                                                               Account / CD
       Date        Reference            Paid To / Received From                      Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)

                                                                                                 COLUMN TOTALS                                      13,379.00                      165.68                   13,213.32
                                                                                                     Less: Bank Transfers/CD's                           0.00                        0.00
                                                                                                 Subtotal                                           13,379.00                      165.68
                                                                                                     Less: Payments to Debtors                                                       0.00
                                                                                                 Net
                                                                                                                                                    13,379.00                      165.68
                                                                                                                                                                         NET                             ACCOUNT
                                                                                                  TOTAL - ALL ACCOUNTS                     NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                Checking Account (Non-Interest Earn - ********8061                   13,379.00                      165.68                  13,213.32
                                                                                                                                         ------------------------    ------------------------   ------------------------
                                                                                                                                                     13,379.00                      165.68                  13,213.32
                                                                                                                                         ==============             ==============              ==============
                                                                                                                                          (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                     Transfers)               To Debtors)                    On Hand




                                                                                                                     Page Subtotals                        0.00                        0.00
                                                                                                                                                                                                            Ver: 20.02
LFORM24
